                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

IN RE BHI ENERGY DATA BREACH                     )
LITIGATION                                       )   Lead Case No. 1:23-cv-12513-LTS
                                                 )
This Document Relates to:                        )
                                                 )
                                                 )
RICHARD ROSE, individually and on behalf         )
of all others similarly situated,                )
                                                 )
       Plaintiff,                                )   Civil Action No. 1:23-cv-12513-LTS
                                                 )
v.                                               )
                                                 )
BHI ENERGY SERVICES, LLC and BHI                 )
ENERGY I SPECIALTY SERVICES LLC,                 )
                                                 )
       Defendants.
                                                 )
                                                 )
JOSHUA PYFROM, individually and on               )
behalf of himself and all others similarly       )
situated,                                        )
                                                 )   Civil Action No. 1:23-cv-12532-LTS
       Plaintiff,                                )
                                                 )
v.                                               )
                                                 )
BHI ENERGY SERVICES, LLC and BHI                 )
ENERGY I SPECIALTY SERVICES LLC,                 )
                                                 )
       Defendants.
                                                 )
                                                 )
RICHARD DESCHAMPS, on behalf of                  )
himself and all others similarly situated,       )
                                                 )
       Plaintiff,                                )   Civil Action No. 1:23-cv-12555-LTS
                                                 )
v.                                               )
                                                 )
BHI ENERGY SERVICES, LLC and BHI                 )
ENERGY I SPECIALTY SERVICES LLC,                 )
                                                 )
       Defendants.
                                                 )


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                                                 )
 LASHAWNTAE A. WASHINGTON,                       )
 individually, and on behalf of all others       )
 similarly situated,                             )
                                                 )   Civil Action No. 1:23-cv-12577-LTS
        Plaintiff,                               )
                                                 )
 v.                                              )
                                                 )
 BHI ENERGY SERVICES, LLC and BHI                )
 ENERGY I SPECIALTY SERVICES LLC,                )
                                                 )
        Defendants.
                                                 )
                                                 )
 GARY KAPLAN and THEODORE JOHNS,                 )
 on behalf of themselves and all others          )
 similarly situated,                             )
                                                 )   Civil Action No. 1:23-cv-12589-LTS
        Plaintiffs,                              )
                                                 )
 v.                                              )
                                                 )
 BHI ENERGY SERVICES, LLC and BHI                )
 ENERGY I SPECIALTY SERVICES LLC,                )
                                                 )
        Defendants.
                                                 )
                                                 )
 KIM R. WEVER and TED MELTON, on                 )
 behalf of themselves individually and on        )
 behalf of all others similarly situated,        )
                                                 )   Civil Action No. 1:23-cv-12626-LTS
        Plaintiffs,                              )
                                                 )
 v.                                              )
                                                 )
 BHI ENERGY SERVICES, LLC and BHI                )
 ENERGY I SPECIALTY SERVICES LLC,                )
                                                 )
        Defendants.
                                                 )

                               JOINT STIPULATION
                         REGARDING INITIAL CASE SCHEDULE

       Plaintiffs Richard Rose, Joshua Pyfrom, Richard Deschamps, Lashawntae A. Washington,

Gary Kaplan, Theodore Johns, Kim R. Wever, and Ted Melton (collectively “Plaintiffs”) and


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Defendants BHI Energy Services, LLC and BHI Energy I Specialty Services, LLC (collectively

“Defendants”) hereby agree and stipulate that the Initial Case Schedule—including, but not limited

to, Defendants’ deadline to respond to Plaintiffs’ forthcoming Consolidated Complaint—applies

to each of the above-captioned actions (collectively the “Consolidated Cases”). In support of this

Joint Stipulation, the Parties state as follows:

        1.      The Rose Action: On October 24, 2023, Plaintiff Richard Rose filed a Class Action

Complaint against Defendants (the “Rose Complaint”). See Rose v. BHI Energy Services, LLC,

et al., No. 1:23-cv-12513-LTS, Doc. 1 (D. Mass.). On October 26, 2023, Defendants were served

with a Summons and copy of the Rose Complaint. Id., Doc. 9. On November 13, 2023, the Court

granted Defendants’ Assented-to Motion for Extension of Time, staying Defendants’ deadline to

answer, move to dismiss, or otherwise respond to the Rose Complaint pending (1) the Court’s

resolution of Plaintiffs’ Motion to Consolidate Related Cases and (2) Plaintiffs’ filing of a

Consolidated Complaint. Id., Doc. 11 (Assented-to Motion), Doc. 15 (Electronic Order).

        2.      The Pyfrom Action: On October 25, 2023, Plaintiff Joshua Pyfrom filed a Class

Action Complaint against Defendants (the “Pyfrom Complaint”). See Pyfrom v. BHI Energy

Services, LLC, et al., No. 1:23-cv-12532-LTS, Doc. 1 (D. Mass.). On November 3, 2023,

Defendants were served with a Summons and copy of the Pyfrom Complaint. Defendants’ original

deadline to answer, move to dismiss, or otherwise respond to the Pyfrom Complaint was

November 24, 2023.

        3.      The Deschamps Action: On October 27, 2023, Plaintiff Richard Deschamps filed

a Class Action Complaint against Defendants (the “Deschamps Complaint”). See Deschamps v.

BHI Energy Services, LLC, et al., No. 1:23-cv-12555-LTS, Doc. 1 (D. Mass.). As of the date of

this Stipulation, Defendants have not been served with the Deschamps Complaint.




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       4.     The Washington Action: On October 27, 2023, Plaintiff Lashawntae A.

Washington filed a Class Action Complaint against Defendants (the “Washington Complaint”).

See Washington v. BHI Energy Services, LLC, et al., No. 1:23-cv-12577-LTS, Doc. 1 (D. Mass.).

As of the date of this Stipulation, Defendants have not been served with the Washington

Complaint.

       5.     The Kaplan Action: On October 30, 2023, Plaintiffs Gary Kaplan and Theodore

Johns filed a Class Action Complaint against Defendants (the “Kaplan Complaint”). See Kaplan,

et al. v. BHI Energy Services, LLC, et al., No. 1:23-cv-12589-LTS, Doc. 1 (D. Mass.). On

November 1, 2023, Defendants were served with a Summons and copy of the Kaplan Complaint.

Id., Docs. 4 & 5. Defendants’ original deadline to answer, move to dismiss, or otherwise respond

to the Kaplan Complaint was November 22, 2023.

       6.     The Wever Action: On October 31, 2023, Plaintiffs Kim R. Wever and Ted Melton

filed a Class Action Complaint against Defendants (the “Wever Complaint”). See Wever, et al. v.

BHI Energy Services, LLC, et al., No. 1:23-cv-12626-LTS, Doc. 1 (D. Mass.). On November 7,

2023, Defendants were served with a Summons and copy of the Wever Complaint. Id., Docs. 4 &

5. Defendants’ original deadline to answer, move to dismiss, or otherwise respond to the Wever

Complaint was November 28, 2023.

       7.     Consolidation: On November 9, 2023, Plaintiffs filed an Unopposed Motion to

Consolidate Cases and Appoint Interim Class Counsel in the first-filed Rose Action and a

[Proposed] Order Consolidating Related Actions and Appointing Interim Class Counsel and

Liaison Counsel (“Proposed Order Consolidating Related Actions”). See Rose, Doc. 14. On

November 13, 2023, the Court issued an electronic order allowing Plaintiffs’ Motion. See id.,




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Doc. 16. Accordingly, the Rose, Pyfrom, Deschamps, Washington, Kaplan, and Wever Actions

have all been assigned to this Court and consolidated under the first-filed Rose Action.

       8.      Plaintiffs’ Proposed Order Consolidating Related Actions contained the following

initial case schedule (Rose, Doc. 14-1, at pp. 5–6):

               (a)     Plaintiffs shall file a Consolidated Complaint no later than 30 days
                       following entry of the Court’s order granting the Motion to Consolidate (on
                       or before December 13, 2023);

               (b)     Defendants shall file an answer or otherwise respond to the Consolidated
                       Complaint within 45 days of the filing of the Consolidated Complaint;

               (c)     Plaintiffs shall file an opposition to any motion to dismiss or similar motion
                       filed in response to the Consolidated Complaint within 45 days of the
                       motion; and

               (d)     Defendants shall file a reply in support of any motion to dismiss or similar
                       motion within 21 days of Plaintiffs’ opposition.

       9.      The Parties agree and stipulate that this schedule shall apply to each of the above-

captioned consolidated actions.

       10.     The Parties further agree and stipulate that the Defendants’ original deadlines to

respond to the individual complaints filed in the Consolidated Actions are stayed pending the

Plaintiffs’ filing of a Consolidated Complaint, at which time the above-listed initial case schedule

shall govern Defendants’ response deadlines.

       11.     To avoid any ambiguity, the Parties specifically agree that:

               (a)     The original deadline for Defendants to answer, move to dismiss, or
                       otherwise respond to the Rose Complaint (Nov. 16, 2023) is stayed pending
                       the filing of Plaintiffs’ Consolidated Complaint, per the Court’s November
                       13, 2023 electronic order (Rose, Doc. 15);

               (b)     The original deadlines for Defendants to answer, move to dismiss, or
                       otherwise respond to the Pyfrom (Nov. 24, 2023), Kaplan (Nov. 22, 2023),
                       and Wever (Nov. 28, 2023) Complaints are stayed pending the filing of
                       Plaintiffs’ Consolidated Complaint; and




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               (c)     Defendants agree that, even though they have not yet been served in the
                       Deschamps and Washington Actions, the filing of a Consolidated
                       Complaint will trigger their obligations to answer, move to dismiss, or
                       otherwise respond to the Consolidated Complaint per the above-listed initial
                       case schedule.

       12.     The Parties agree that the requested stay will: (1) conserve Defendants’ resources,

sparing them the time and expense of obtaining separate extension of time or responding to

pleadings in the individual actions that will shortly be moot upon Plaintiffs filing of a Consolidated

Complaint; (2) benefit Plaintiffs by providing them with sufficient time to coordinate and prepare

and file a Consolidated Complaint; and (3) benefit the Court by preserving judicial resources, by

avoiding duplicative or unnecessary filings on the docket in the individual actions.

       13.     Accordingly, the Parties jointly stipulate and agree that the following initial case

schedule shall apply to all of the Consolidated Actions:

               (a)     Plaintiffs shall file a Consolidated Complaint no later than 30 days
                       following entry of the Court’s order granting the Motion to Consolidate (on
                       or before December 13, 2023);

               (b)     Defendants shall file an answer or otherwise respond to the Consolidated
                       Complaint within 45 days of the filing of the Consolidated Complaint;

               (c)     Plaintiffs shall file an opposition to any motion to dismiss or similar motion
                       filed in response to the Consolidated Complaint within 45 days of the
                       motion; and

               (d)     Defendants shall file a reply in support of any motion to dismiss or similar
                       motion within 21 days of Plaintiffs’ opposition.

       WHEREFORE, the Parties respectfully request that the Court endorse and approve this

Joint Stipulation and enter the following initial case schedule for the Consolidated Actions:

               (a)     Plaintiffs shall file a Consolidated Complaint no later than 30 days
                       following entry of the Court’s order granting the Motion to Consolidate (on
                       or before December 13, 2023);

               (b)     Defendants shall file an answer or otherwise respond to the Consolidated
                       Complaint within 45 days of the filing of the Consolidated Complaint;




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           (c)    Plaintiffs shall file an opposition to any motion to dismiss or similar motion
                  filed in response to the Consolidated Complaint within 45 days of the
                  motion; and

           (d)    Defendants shall file a reply in support of any motion to dismiss or similar
                  motion within 21 days of Plaintiffs’ opposition.



SO ORDERED:
        11/17/2023
Dated: ______________                           /s/ Leo T. Sorokin
                                             Hon. Leo T. Sorokin
                                             United States District Judge




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Respectfully submitted,                        Respectfully submitted,
PLAINTIFFS,                                    BHI ENERGY SERVICES, LLC and
By their attorneys,                            BHI ENERGY I SPECIALTY SERVICES,
                                               LLC

                                               By their attorneys,


/s/ A. Brooke Murphy (w/permission)            /s/ Robert W. Sparkes, III
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* pro hac vice application forthcoming




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                          LOCAL RULE 7.1(a)(2) CERTIFICATION

         The undersigned hereby certifies that counsel for Defendants has conferred with counsel
for all Plaintiffs regarding the issues presented in this joint stipulation and that Plaintiffs have all
assented to the relief requested herein.




                                                     /s/ Robert W. Sparkes, III
                                                     Robert W. Sparkes, III




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing and
paper copies will be sent to those indicated as non-registered participants on November 16, 2023.




                                                  /s/ Robert W. Sparkes, III
                                                  Robert W. Sparkes, III




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